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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-30-PB

Danielle Rhodes, et al.



                               O R D E R

     The defendant, through counsel, has moved to continue the

trial scheduled for October 7, 2008, citing the need for

additional time to allow defendant to complete a psychiatric

evaluation prior to trial.     The government and co-defendants do

not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from October 7, 2008 to January 6, 2009.               In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The September 23, 2008 final pretrial conference is

continued to December 18, 2008 at 4:00 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

September 29, 2008

cc:   James Gleason, Esq.
      Richard Monteith, Esq.
      Lawrence Vogelman, Esq.
      Mark Machera, Esq.
      Neil Faigel, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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